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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

SPARTA INSURANCE COMPANY
(as successor in interest to Sparta Insurance
Holdings, Inc.),

Plaintiff, : Civil Action
No. 21-11205-FDS
Vv.

PENNSYLVANIA GENERAL INSURANCE :
COMPANY (now known as Pennsylvania
Insurance Company),

Defendant.

PLAINTIFF SPARTA INSURANCE COMPANY’S
LOCAL RULE 16.1(d)(3) CERTIFICATION

Pursuant to Local Rule 16.1(d)(3), the undersigned counsel of record and duly
authorized representative of Plaintiff SPARTA Insurance Company certify that they have
conferred:

(a) with a view to establishing a budget for the costs of conducting the full
course -- and various alternative courses -- of the litigation; and

(b) to consider the resolution of the litigation through the use of alternative

dispute resolution programs such as those outlined in Local Rule 16.4.
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Dated: August 23, 2022 Respectfully submitted,
oston, Massachusett

/s/ James R. Carroll

Amy GAllent James R. Carroll (BBO #554426)
SPARTA Insurance Company Christopher G. Clark (BBO #663455)

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